                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )        NO. 3:06-00031-18
                                             )        JUDGE CAMPBELL
ROBERTO MANIER                               )


                                            ORDER


       Pending before the Court is a Petition for Revocation of Supervised Release (Docket No.

807). The Court will hold a hearing on the Petition on July 27, 2012, at 10:00 a.m.

       IT IS SO ORDERED.



                                                      __________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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